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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  PRIORITIES USA, et al.,                          Case No. 19-13341

         Plaintiffs                                Stephanie Dawkins Davis
  v.                                               United States District Judge

  DANA NESSEL,

       Defendant.
  ________________________/

       ORDER DENYING EMERGENCY MOTION TO STAY (ECF No. 84)

 I.     PROCEDURAL HISTORY

        On September 17, 2020, the court preliminarily enjoined enforcement of the

 Voter Transportation Law, Mich. Comp. Laws § 168.931(1)(f), finding it

 preempted by the Federal Election Campaign Act and its accompanying

 regulations. (ECF No. 79). Defendant, Attorney General Dana Nessel has not

 filed an appeal. However, the Intervenors in this matter, the Michigan Senate and

 Michigan House of Representatives (the Legislature) and the Michigan Republican

 Party and the Republican National Committee (the Republican Party), both filed

 notices of appeal. (ECF Nos. 80, 81). On September 25, 2020, the Legislature

 filed an emergency motion to stay pending appeal, in which the Republican Party

 joined. (ECF Nos. 84, 86). Plaintiffs oppose the request for a stay and defendant




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 takes no position on the matter. (ECF Nos. 87, 88). The Intervenors filed replies

 in support of their request to say. (ECF Nos. 90, 91).

 II.   STAYING THE INJUNCTION PENDING APPEAL

       Under Federal Rule of Civil Procedure 62(c), this Court has the power to

 stay an injunction pending appeal: “While an appeal is pending from an

 interlocutory order or final judgment that grants, dissolves, or denies an injunction,

 the court may suspend, modify, restore, or grant an injunction on terms for bond or

 other terms that secure the opposing party’s rights.” In deciding whether to issue a

 stay pending appeal, courts consider factors similar to those analyzed when issuing

 injunctive relief: (1) the likelihood that the party seeking the stay will prevail on

 the merits of the appeal; (2) the likelihood that the moving party will be irreparably

 harmed absent a stay; (3) the prospect that others will be harmed if the court grants

 the stay; and (4) the public interest in granting the stay. SEIU Local 1 v. Husted,

 698 F.3d 341, 343 (6th Cir. 2012) (quoting Mich. Coal. of Radioactive Material

 Users, Inc. v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991)). “These factors are

 not prerequisites that must be met, but are interrelated considerations that must be

 balanced together.” Id. The moving party has the burden of demonstrating

 entitlement to a stay. Id.




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       A.     Likelihood of Success on the Merits of the Appeal

       The Legislature contends that plaintiffs are unlikely to succeed on the merits

 of their claim that the Voter Transportation Law (alternately “VTL”) is preempted

 by FECA. According to the Legislature, the Voter Transportation Law is

 consistent with FECA because the payment prohibited under the law is neither a

 “contribution” nor an “expenditure” under FECA. Rather, the VTL only limits

 spending on a particular activity in order to protect the integrity of Michigan’s

 elections. More particularly, the Legislature contends that with respect to

 candidate-specific transportation, the VTL does not conflict with FECA because to

 find such a conflict, a strained reading of the phrase “contributions and

 expenditures regarding Federal candidates and political committees” is required.

 That is, according to the Legislature, it is a stretch to conclude that “contributions

 and expenditures regarding Federal candidates and political committees”

 encompasses money that one party pays to a third party to drive voters to the polls.

       Contrary to the position of the Republican Party, the court did not fail to

 presume that the VTL was not preempted. The court began its preemption analysis

 with “the assumption that the historic police powers of the States were not to be

 superseded by the Federal Act unless that was the clear and manifest purpose of

 Congress.” (ECF No. 79, PageID.1605-1606, quoting Cmty. Refugee &

 Immigration Servs. v. Registrar, Ohio Bureau of Motor Vehicles, 334 F.R.D. 493,


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 509 (S.D. Ohio 2020) (quoting City of Columbus v. Ours Garage and Wrecker

 Service, Inc., 536 U.S. 424, 438 (2002) (quoting Medtronic, Inc. v. Lohr, 518 U.S.

 470, 485 (1996)).1 FECA contains such an expression of Congress’s “clear and

 manifest” directive regarding preemption. The court then carefully examined

 whether the VTL falls within the scope of the preemption provision, beginning

 with the plain language of the statute itself, followed by an analysis of whether the

 VTL was captured by the carved-out exceptions to preemption. According to the

 FECA statute, the Act and any rules prescribed under it “supersede and preempt

 any provision of State law with respect to election to Federal office.” 52 U.S.C.

 § 30143. FECA regulations state that it expressly supersedes state law concerning

 limitations on “contributions and expenditures regarding Federal candidates and

 political committees.” 11 C.F.R. § 108.7(b)(3). The Voter Transportation Law

 quite broadly “bars all spending on transportation to the polls, except for that made

 on behalf of those unable to walk to the polls.” (ECF No. 79, PageID.1616). Yet,

 FECA regulations expressly permit “disbursements” to provide transportation to

 the polls for voters. (ECF No. 79, PageID.1614-1615 (citing 11 C.F.R.

 §§ 114.3(c)(4)(i), 114.4(d)(1)). A disbursement is the spending of money, which is




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          While the court’s preemption analysis begins with a discussion of plaintiffs’ claim that
 the Absentee Ballot Law was preempted, it continues into the next section of the opinion
 regarding the Voter Transportation Law and refers back to the general principles governing such
 an analysis.

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 prohibited by the Voter Transportation Law. The FECA regulations limit the types

 of disbursements an organization may make to transport voters to the polls. These

 disbursements cannot be contributions or coordinated expenditures, within the

 meaning of applicable statutes. 11 C.F.R. § 114.4(a); 11 C.F.R. § 114.3(c)(4)(iii).

 But disbursements for the transportation of voters to the polls are considered

 expenditures, within the meaning of FECA, unless the organization meets several

 specific criteria while carrying out its voter transportation or other covered get-out-

 the-vote efforts. See 11 C.F.R. § 114.4(d)(2)(i)-(v) (outlining the steps necessary

 to prevent a disbursement from being considered an expenditure). In sum, FECA

 regulations permit organizations to make expenditures to transport voters to the

 polls, and FECA’s preemption regulation mandates that federal law supersedes

 state law regarding such expenditures related to federal elections. 11 C.F.R.

 § 108.7(b)(3). 2

        The court is not convinced by the Legislature’s argument that FECA only

 encompasses expenditures made to a federal candidate or political committee, but

 not funds paid to third parties to transport voters. Instead, the court finds

 plaintiffs’ interpretation of the FECA regulations more persuasive. That is, 11




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          To the extent that the Republican Party argues that the court incorrectly determined that
 FECA created a “right” to spend to transport voters to the polls, the court did not so hold.
 Rather, the court merely concluded that FECA regulations allowed such expenditures regarding
 federal elections.

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 C.F.R. § 108.7(b)(3) does not merely provide that FECA preempts state laws that

 cover contributions and expenditures to candidates and political committees, but

 rather, includes all limitations on contributions and expenditures “regarding”

 federal candidates and political committees. As plaintiffs point out, if the FEC

 meant to limit the preemptive scope of FECA to cover only contributions and

 expenditures made “to” candidates and political committees, it would have used

 that language, as it has done elsewhere in the regulatory scheme. See e.g., 11

 C.F.R. § 114.2(f)(1) (discussing the “making of contributions to candidates or

 political committees”); 11 C.F.R. § 110.14 (discussing “limitations on

 contributions to candidates and political committees”); 11 C.F.R. § 110.1

 (discussing “[c]ontributions to candidates”) (emphasis added). Further, as noted in

 the underlying decision, the term “expenditure” is expansively defined as “any

 direct or indirect payment . . . to any candidate, political party or committee,

 organization, or any other person in connection with any election.” 11 C.F.R.

 § 114.1(a)(1) (emphasis supplied). The Legislature’s interpretation limiting

 expenditures to federal candidates and political committees ignores much of the

 definition of “expenditure,” which includes payments to “organizations, or any

 other person” in connection with a federal election.

       The Republican Party also suggests that the court should have refrained from

 finding preemption because the ruling necessarily applies to state elections, and not


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 just federal elections. The court’s ruling, inasmuch as it is premised on a federal

 statute governing federal elections, can only be applied to federal elections.

 Because the VTL does not limit itself to state elections, it is appropriate for the

 court to determine its applicability to federal elections.

       Next, the Legislature argues that even if the Voter Transportation Law

 imposes an expenditure limit on federal elections, it falls into FECA’s carve-out

 for statutes prohibiting “false registration, voting fraud, theft of ballots and similar

 offenses.” 11 C.F.R. § 108.7(c)(4). The Legislature takes issue with the court’s

 analysis that a fraud prevention purpose cannot be read into the statute, particularly

 where a prior version appears to have articulated such a purpose, while the present

 version does not. Rather, according to the Legislature, a proper parsing of the prior

 version of the statutory provision in which the prohibition on transporting voters

 appears, shows that the quid pro quo language is entirely separate from the voter

 transportation prohibition, rendering the two versions nearly identical. Even if the

 Legislature’s reading of the earlier version of the law is correct, this does little to

 contradict the court’s conclusion that there is no obvious anti-fraud purpose to the

 current Voter Transportation Law. The court’s point was, construing the prior

 version of the statute generously, it at least contained express language revealing

 an anti-fraud purpose which arguably could be read to link back to the




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 transportation clause. Whereas, the current version contains no language directly

 expressing an anti-fraud purpose.

       The Legislature contends, however, that rather than being designed to

 prevent a quid pro quo, the purpose of the Voter Transportation Law is to prevent

 undue influence and voter intimidation. The Legislature argues that the placement

 of this provision among other anti-fraud provisions supports its interpretation that

 the law has an anti-fraud purpose – even though surrounding provisions seeking to

 prevent undue influence and voter intimidation contain language addressing such

 scenarios. See e.g., Mich. Comp. Laws § 168.931(a) (prohibiting a person from

 giving valuable consideration as an inducement to influence a person’s vote);

 § 168.931(b) (prohibiting a person from contracting for valuable consideration to

 vote or to induce another to vote); § 168.931(d) (prohibiting a person from

 threatening to fire an employee in order to influence the employee’s vote in an

 election). The Legislature relies on Dewald v. Wriggelsworth, which held that

 common-law fraud ancillary to an election (there, the use of a federal candidate’s

 name to swindle potential contributors) was “similar” to the offenses specifically

 listed in 11 C.F.R. § 108.7(c)(4) and was therefore excepted from preemption. 748

 F.3d 295, 303 (6th Cir. 2014). According to the Legislature, the Voter

 Transportation Law falls more clearly within the FECA carve-out because, unlike

 common-law fraud, it is a targeted law aimed at preserving electoral integrity. But,


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 as noted in the underlying ruling, the VTL is not listed among provisions

 exclusively targeting “false registration, voting fraud, theft of ballots and similar

 offenses.” Indeed, it stands alongside what appear to be regulatory provisions

 governing attendance by inspectors at polling places, and any fraud-related

 provisions are explicit in their language.

       To find an anti-fraud purpose in the Voter Transportation Law, the court

 would essentially have to conclude that spending on transporting voters to the

 polls, despite being expressly permitted under FECA regulations, is fundamentally

 an activity that promotes voter fraud, undue influence, or voter intimidation. Yet,

 this proposition is not evidenced by the plain language of the Voter Transportation

 Law, which does not suggest an anti-fraud purpose, and it is inconsistent with the

 FECA regulations, which expressly permit spending on transporting voters to the

 polls. Indeed, the FEC has expressly adopted a policy that federal law allows

 spending on transporting voters to the polls and the Voter Transportation Law

 stands in stark contrast to this policy. Nor is there any evidence in the record at

 this juncture of voter fraud, undue influence or voter intimidation related to paying

 for transportation to the polls. As plaintiffs point out, the act of facilitating a

 lawful voter’s access to the polls so that he or she can cast a ballot increases

 participation in the democratic process and is common in many states and a central




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  part of advocacy organizing efforts. (ECF No. 22-8, PageID.239-241 (Nse Ufot

  Decl.)).

        Dewald v. Wrigglesworth does not help the Legislature’s cause. That case

  involved, amongst other things, the question of whether common law fraud was a

  similar offense to false registration, voting fraud, or ballot theft. The Sixth Circuit

  held that it was, because “the fraudulent acquisition of money by an individual

  purporting to represent a federally registered PAC” was a “similar offense” to

  “voting fraud.” Dewald v. Wriggelsworth, 748 F.3d 295, 302 (6th Cir. 2014).

  Here, the question is whether spending to transport voters to the polls, which,

  according to plaintiffs, is legal in 49 states, is a “similar offense” to false

  registration, voting fraud, or ballot theft. The court concludes that such a finding

  requires an unduly strained interpretation of the FECA regulation. Accordingly,

  the court finds no basis to revisit its earlier determination that the Voter

  Transportation Law is likely preempted by FECA and its accompanying

  regulations. This factor weighs against a stay of the preliminary injunction

  pending appeal.

        B.     Irreparable Harm to the Moving Party

        In evaluating the harm that will occur depending on whether the stay is

  granted, the Sixth Circuit generally examines three factors: (1) the substantiality of

  the injury alleged; (2) the likelihood of its occurrence; and (3) the adequacy of the


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  proof provided. Michigan Coal. of Radioactive Material Users, Inc. v.

  Griepentrog, 945 F.2d 150, 154 (6th Cir. 1991) (citing Ohio ex rel. Celebrezze v.

  Nuclear Regulatory Comm’n, 812 F.2d 288, 290 (6th Cir. 1987)). Here, the

  Legislature failed to address this issue, instead revisiting plaintiffs’ allegations of

  irreparable harm as it relates to the underlying preliminary injunction instead of

  addressing the irreparable harm that they, as movants, will face if a stay is not

  granted. (See ECF No. 84, PageID.1661-1662). The Republican Party argues that

  the State and the Republican Party will be irreparably harmed absent a stay, yet the

  bulk of its argument focuses on harm to the State. The Republican Party does not

  represent the interests of the State, however. The only harm that the Republican

  Party identifies to itself is harm to its competitive interests. But the effect of the

  preliminary injunction affects the Republican Party no differently than its

  competitors. Presumably, other political parties are making the same calculations

  and preparations as it relates to the VTL as the Republican Party. The Republican

  Party has not offered any proofs, as required, in support of its claim of competitive

  harm, and in light of the fact that all political parties are affected in the same

  manner, the court finds this alleged injury insubstantial. Accordingly, this factor

  does not weigh in favor of the issuance of a stay.




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        C.     Harm to Others and the Public Interest

        The last two factors the court must consider when evaluating whether to

  grant the stay pending appeal are: (1) the prospect that others will be harmed if the

  court grants the stay; and (2) the public interest in granting the stay. Plaintiffs

  contend that they and voters will suffer irreparable harm if the stay is granted.

  Plaintiffs proffer evidence that, after the issuance of the preliminary injunction,

  plaintiff Rise began preparations to transport Michigan voters to the polls. (ECF

  No. 88-2, Declaration of Maxwell Lubin in Support of Response at ¶¶ 10-11). If

  the injunction is stayed, Rise says it will need to divert monetary and staff

  resources to work with voters one-on-one to figure out those voters’ individual

  transit needs and assist them with getting to the polls in a way that does not involve

  paid transportation. Id. at ¶¶ 12-15. Accordingly, plaintiffs argue that a stay

  would result in a significant diminution of their ability to participate in and assist

  others in fully participating in the democratic process. Plaintiffs further assert that

  because each election is a unique, non-repeatable occurrence, no amount of

  monetary damages can make plaintiffs whole if the Voter Transportation Law

  remains place for upcoming elections. As this court noted in the decision on the

  preliminary injunction, “[t]he November election is nearly upon us and any

  particular election only occurs once.” (ECF No. 79, PageID.1623). The harm to

  plaintiffs weighs against granting the stay.


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        Moreover, Michigan voters will also likely be adversely affected if the

  injunction is stayed. Plaintiffs proffer evidence that if the court were to grant the

  motion to stay and the Voter Transportation Law were to remain in place, Uber

  would again be prevented from providing Michigan voters with free and

  discounted rides, and those voters who would have otherwise had the opportunity

  to receive free transportation to the polls provided by Rise will now need to find a

  different way to make it to the polls. (ECF No. 88-2, Lubin Decl. ¶ 12). It cannot

  be disputed that “[t]here is a strong public interest in allowing every registered

  voter to vote freely.” Summit Cty. Democratic Cent. & Exec. Comm. v. Blackwell,

  388 F.3d 547, 551 (6th Cir. 2004). Denying the stay supports this public interest.

        D.     Applicability of Purcell v. Gonzalez

        The Republican Party alleges that a stay is required by Purcell v. Gonzalez,

  549 U.S. 1 (2006) because injunctions that can result in voter confusion should be

  avoided in close proximity to an election. The Supreme Court cautioned that

  “[c]ourt orders affecting elections, . . . can themselves result in voter confusion and

  consequent incentive to remain away from the polls,” a risk that increases “[a]s an

  election draws closer.” The Court in Purcell was concerned that last-minute

  changes to elections procedures may create a “consequent incentive to remain

  away from the polls.” 549 U.S. at 5. While the Republican Party argues that the

  injunction will cause serious voter confusion regarding paid transportation to the


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  polls, it offers no evidence to support this assertion. Moreover, the Voter

  Transportation Law is not similar to the “election procedure” at issue in Purcell.

  There, the court enjoined the operation of a voter identification law just weeks

  before an election. In that circumstance, the Court of Appeals was required to

  weigh, in addition to usual considerations for the issuance of an injunction,

  considerations specific to election cases, especially conflicting orders, that can

  result in voter confusion. Here, whether a voter may take advantage of a free ride

  to the polls does not appear to be an “election procedure” akin to requiring voters

  to provide proof of citizenship. Moreover, unlike in Purcell, there is no danger of

  conflicting orders.

  III.   STANDING

         In the response to the motion to stay, plaintiffs challenge whether the

  Intervenors even have standing to pursue an appeal of the preliminary injunction

  order, absent the Attorney General pursuing such an appeal. As recently held by

  the Supreme Court, “to appeal a decision that the primary party does not challenge,

  an intervenor must independently demonstrate standing.” Virginia House of

  Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1951 (2019). While the parties have

  briefed the issue of appellate standing, because the court concludes that the

  Intervenors have not established the that they are entitled to a stay of the




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  preliminary injunction pending appeal, the court declines to address the issue at

  this juncture.

        For the reasons set forth above, the Court DENIES the Intervenors’

  Emergency Motion to Stay Pending Appeal.

        IT IS SO ORDERED.

  Date: October 6, 2020                     s/Stephanie Dawkins Davis
                                            Stephanie Dawkins Davis
                                            United States District Judge




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